     Case 2:13-cr-00096-RHW            ECF No. 1120        filed 12/01/16       PageID.3778 Page 1 of 2
 PROB 12C                                                                         Report Date: November 30, 2016
(6/16)

                                      United States District Court

                                                      for the

                                       Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Pamela Sueanne Hawkes                   Case Number: 0980 2:13CR00096-RHW-011
 Address of Offender:                      Idaho
 Name of Sentencing Judicial Officer: The Honorable Robert H. Whaley, Senior U.S. District Judge
 Date of Original Sentence: January 23, 2014
 Original Offense:          Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349
 Original Sentence:         Prison-15 months;              Type of Supervision: Supervised Release
                            TSR - 60 months

 Revocation Sentence:       Prison - 5 months;
 (June 19, 2015)            TSR - 55 months
 Asst. U.S. Attorney:       Timothy Ohms                   Date Supervision Commenced: October 2, 2015
 Defense Attorney:          Federal Defenders              Date Supervision Expires: May 1, 2020


                                        PETITIONING THE COURT

                To incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on 10/28/2016 and 11/03/2016.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            11          Standard Condition # 1: The defendant shall not leave the judicial district without the
                        permission of the court or probation officer.

                        Supporting Evidence: Pamela Hawkes violated the terms of her supervised release by
                        leaving the Eastern District of Washington without permission, during the month of
                        November 2016.



                                          I declare under penalty of perjury that the foregoing is true and correct.
                                                            Executed on:     11/30/2016
                                                                             s/Melissa Hanson
                                                                             Melissa Hanson
                                                                             U.S. Probation Officer
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 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ X]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [ X]     Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                     Signature of Judicial Officer

                                                                            December 1, 2016
                                                                     Date
